        Case 4:09-cr-00300-LPR           Document 78        Filed 09/03/10       Page 1 of 2




                          IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF ARKANSAS


UNITED STATES OF AMERICA

v.                                              No. 4:09CR00300 SWW

LARON BROOKS, aka BUBBLE EYE


                         AMENDED FINAL ORDER OF FORFEITURE

        WHEREAS, on May 27, 2010, this Court entered a Final Order of Forfeiture, ordering

defendant to forfeit his interest in the following:

1)      a Smith & Wesson .38 caliber special SPC CTG revolver, Serial Number C67902
        and two bullets with the markings 38 Special Federal; and

2)      1999 Ford pickup truck, VIN# 1FTZF072XXKB08637

        WHEREAS, the United States caused to be published on the forfeiture website, internet

address of www.forfeiture.gov for thirty consecutive days beginning on March 20, 2010, notice

of this forfeiture and of the intent of the United States to dispose of the property in accordance

with the law and as specified in the Preliminary Order. and further notifying all third parties of

their right to petition the Court within thirty (30) days for a hearing to adjudicate the validity of

their alleged legal interest in the property;

        WHEREAS, no claims were filed by any persons with respect to any of the property

described herein;

        WHEREAS, the Court finds that defendant had an interest in the property that is subject

to forfeiture pursuant to Title 18, U.S.C.§ 924(d) and Title 28 U.S.C. § 2461(c) .




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        Case 4:09-cr-00300-LPR          Document 78        Filed 09/03/10     Page 2 of 2




       NOW THEREFORE, IT IS HEREBY ORDERED, ADJUDGED AND DECREED that

1)     a Smith & Wesson .38 caliber special SPC CTG revolver, Serial Number C67902
       and two bullets with the markings 38 Special Federal; and

2)     1999 Ford pickup truck, VIN# 1FTZF072XXKB08637

are hereby forfeited to the United States of America pursuant to Title 18, U.S.C.§ 924(d) and

Title 28, U.S.C. § 2461(c) .

       IT IS FURTHER ORDERED, ADJUDGED AND DECREED that all right, title, and

interest in all of the property set forth above is hereby condemned, forfeited and vested in the

United States of America, and shall be disposed of according to law; and

       IT IS FURTHER ORDERED that the lien of Coran Auto Sales will be paid once the

1999 Ford pickup truck, VIN# 1FTZF072XXKB08637 vehicle has been disposed of by the U. S.

Marshal Service.

       IT IS FURTHER ORDERED that the United States District Court shall retain jurisdiction

in the case for the purpose of enforcing this Order; and

       IT IS SO ORDERED this 3rd day of September, 2010.

                                                     /s/Susan Webber Wright

                                                     UNITED STATES DISTRICT JUDGE




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